               In the
          Court of Appeals
  Second Appellate District of Texas
           at Fort Worth
        ___________________________
             No. 02-24-00191-CV
        ___________________________

IN THE INTEREST OF J.H. AND E.H., CHILDREN



     On Appeal from the 360th District Court
             Tarrant County, Texas
         Trial Court No. 360-694947-21


   Before Sudderth, C.J.; Birdwell and Walker, JJ.
    Memorandum Opinion by Justice Birdwell
                           MEMORANDUM OPINION

      The trial court terminated Appellant Mother’s parental rights to her children

J.H. and E.H. based on its findings on endangerment, on her failure to comply with

court orders, on her controlled-substance use in a manner that endangered the

children’s health or safety, and on the children’s best interests.1 See Tex. Fam. Code

Ann. § 161.001(b)(1)(D), (E), (O), (P), (2).

      Mother’s appointed appellate counsel has filed an Anders brief2 in which she

concludes that, after a thorough review of the appellate record, the appeal is frivolous.

See In re K.W., No. 02-23-00082-CV, 2023 WL 4289613, at *1 (Tex. App.—Fort

Worth June 30, 2023, no pet.) (mem. op.). Counsel’s brief meets the Anders

requirements by presenting a professional evaluation of the record and showing why

there are no arguable grounds to advance on appeal.

      We provided Mother the opportunity to obtain a copy of the appellate record

and to file a pro se response, but she has not done so. The Department of Family and

Protective Services has agreed with Mother’s counsel that the appeal is frivolous.

      When an Anders brief is filed, we must independently examine the appellate

record to determine if any arguable grounds for appeal exist. In re C.J., No. 02-18-

      1
       The trial court terminated the children’s father’s parental rights in 2022.
      2
       Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967); see In re
K.M., 98 S.W.3d 774, 776–77 (Tex. App.—Fort Worth 2003, no pet.) (holding Anders
procedures apply in termination-of-parental-rights cases), disp. on merits, No. 02-01-
00349-CV, 2003 WL 2006583 (Tex. App.—Fort Worth May 1, 2003, no pet.) (mem.
op.).

                                               2
00219-CV, 2018 WL 4496240, at *1 (Tex. App.—Fort Worth Sept. 20, 2018, no pet.)

(mem. op.). Having carefully reviewed counsel’s brief and the appellate record, we

agree with counsel that Mother’s appeal is without merit. See Bledsoe v. State, 178

S.W.3d 824, 827 (Tex. Crim. App. 2005); In re D.D., 279 S.W.3d 849, 850 (Tex.

App.—Dallas 2009, pet. denied). Therefore, we affirm the trial court’s order

terminating the parent–child relationship between Mother and the children. 3

                                                     /s/ Wade Birdwell

                                                     Wade Birdwell
                                                     Justice

Delivered: August 22, 2024




      3
        Mother’s counsel remains appointed through proceedings in the Texas
Supreme Court unless otherwise relieved. See In re P.M., 520 S.W.3d 24, 27 (Tex. 2016)
(order); see also Tex. Fam. Code Ann. § 107.016(2)(C).

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